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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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ILUMINADA ORTEGA,                    :
                                     :                    Case No.: 1:21-cv-1125 (NGG) (CLP)
                    Plaintiff,       :
                                     :                   DECLARATION IN SUPPORT OF
                 v.                  :                    MOTION FOR LEAVE TO FILE
                                     :                      AMENDED PLEADINGS
CHAMPAGNE ROOM BK, INC d/b/a DRAFT   :
BARN d/b/a END ZONE SPORTS BAR &     :
LOUNGE, and RUBEN YEGHOYAN,          :
                                     :
                    Defendants.      :
                                     :
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       JONATHAN SHALOM, ESQ., declares, pursuant to 28 U.S.C. § 1746, under penalty

of perjury, that the following is true and correct:

   1. I am an attorney licensed to practice law in the State of New York and before this Court,

and am also the managing member of Shalom Law, PLLC, attorneys of record for Plaintiff

Iluminada Ortega in this case.

   2. I submit this affidavit in support of Plaintiff’s instant motion for leave to file an amended

pleading. I have personal knowledge of the facts set forth below based on my review of the file

and conversations with my client.

   3. In the course of discovery in this case, Plaintiff received documents which provided the

name of Defendant Ruben Yeghoyan’s partner – Sarkis Avoyants – whose exact name Plaintiff

did not know at the time of the complaint.

   4. This is why the original complaint named numerous individual defendants who Plaintiff

subsequently stipulated to withdraw her claims against (once those individuals came forward with

satisfactory evidence to show that they were not involved in the Defendants’ business).

   5. Avoyants, however, was involved in Defendants’ business.
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    6. As such, Plaintiff diligently sought leave to amend the pleadings once she learned of his

identity.

    7. Similarly, with respect to Plaintiff’s wage-and-hour claims, Plaintiff first learned that she

was not properly paid under the law when discussing backpay calculations for purposes of a

damages analysis with your undersigned.

    8. Upon first learning that she was not properly paid under the law, which she was unaware

of prior to that time, Plaintiff sought leave to amend the pleadings to pursue wage-and-hour claims

against the Defendants, including Avoyants.

    9. Based on same, Plaintiff submits the instant proposed amended complaint, which seeks to

replead only four of the five causes of action dismissed by Judge Wolford without prejudice.

    10. For the foregoing reasons, Plaintiff’s motion for leave to file an amended pleading should

be granted as Defendants cannot in any way establish prejudice nor bad faith to support an Order

denying the requested relief.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on September 9, 2022.

                                                      /s/Jonathan Shalom
                                                      JONATHAN SHALOM, ESQ.




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